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                               UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                    TEXARKANA DIVISION

  STEVE CANNON,                                   §
                                                  §
              PLAINTIFF,                          §
                                                  §
  V.                                              §          CIVIL ACTION NO.:
                                                  §          5:15-CV-106
  AECOM TECHNOLOGY CORPORATION                    §
  F/K/A URS CORPORATION,                          §
                                                  §
              DEFENDANT.


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          05/27/2015       Document 1 – Court Docket
          05/27/2015       Document 2 – Original Petition and Jury Demand
          05/27/2015       Document 3 – Civil Case Information Sheet
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          06/02/2015       Document 5 – Return of Citation with Receipt
          06/24/2015       Document 6 – Certified Case Summary




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